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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 SOUTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

 JEREMY DRUMMOND,                        )
                                         )
              Plaintiff,                 )
 v.                                      )   Case No.: 1:24-cv-00072-TFM-B
                                         )
 RESPIRATORY SLEEP                       )
 SOLUTIONS DBA STRATUS                   )
 NEURO,                                  )
                                         )
              Defendant.                 )

      NOTICE OF CHANGE OF ADDRESS AND CONTACT DETAILS

      The undersigned counsel notifies the Court that her address is updated to the

following:

                   THE WORKERS’ FIRM, LLC
                   2 20th St. North Suite 900
                   Birmingham, AL 35203
                   T: 404-382-9660 / 205-208-8022
                   E: fonteneau@theworkersfirm.com

      Kindly direct all communications, discovery and update your records to

reflect the undersigned’s current address.

      Respectfully submitted on November 5, 2024.


                                                          /s/Kira Fonteneau
                                                          Kira Fonteneau ASB-7338-k58f
                                                          Attorney for Jeremy Drummond
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 OF COUNSEL:
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                        CERTIFICATE OF SERVICE

      I certify that on November 5, 2024, I filed the preceding notice using the

CM/ECF system which will serve all counsel of record.

 Patrick Schach
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 Attorneys for defendant



                                         /s/Kira Fonteneau
                                         Kira Fonteneau




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